USCA Case #23-1157               Document #2009825              Filed: 07/27/2023      Page 1 of 1
                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 23-1157                                                      September Term, 2022
                                                                               EPA-88FR36654
                                                             Filed On: July 27, 2023
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,
             Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,
             Respondents


------------------------------

Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193


         BEFORE:           Wilkins, Walker, and Pan, Circuit Judges

                                              ORDER

       Upon consideration of the motion for a stay pending review and for an
administrative stay in No. 23-1183, the opposition to the request for an administrative
stay, and the reply; and the motion for an extension of time in No. 23-1157, it is

         ORDERED that the motion for an administrative stay be denied. It is

        FURTHER ORDERED that respondents’ oppositions to the motions for a stay
pending review in No. 23-1157 and No. 23-1183 are now due August 18, 2023. Any
reply is due August 25, 2023.

                                             Per Curiam


                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Tatiana Magruder
                                                               Deputy Clerk
